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 7

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:21-CR-00157-NODJ-BAM
12                                Plaintiff,            STIPULATION TO CONTINUE SENTENCING;
                                                        ORDER
13                         v.
                                                        DATE: June 5, 2024
14   SAUL RAMIREZ                                       TIME: 1:00 PM
                                                        COURT: Hon. Linda Lopez
15                               Defendant.
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for sentencing on June 5, 2024.

21          2.     The parties request additional time to be prepared for sentencing. The parties request the

22 sentencing be continued to July 15, 2024.

23          3.     Government counsel has been ill for more than the past week which has interfered with

24 completing the sentencing memorandum. The Government requests the continuance to be able to do so.

25          4.     Defense counsel requests the case be set for sentencing on July 15, 2024 before the Hon.

26 Charles Breyer, the judge who took Mr. Ramirez’s plea. At the plea proceeding (undersigned
27 Government counsel was not present at that proceeding), Judge Breyer indicated that defendants should

28 be sentenced by the judge that takes their plea and the defendant understood that to mean that Judge

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 1 Breyer would sentence the defendant. While defense understands that Judge Breyer set parameters for

 2 cases he would sentence on July 26 and this case does not meet the date of plea parameter, the defense

 3 would like time to explore whether Judge Breyer will consider handling this sentencing on July 26 as

 4 well.

 5          5.      Government counsel is agreeable to the July 15, 2024 sentencing date.

 6          IT IS SO STIPULATED.

 7
      Dated: May 31, 2024                                    PHILLIP A. TALBERT
 8                                                           United States Attorney
 9
                                                             /s/ KIMBERLY A. SANCHEZ
10                                                           KIMBERLY A. SANCHEZ
                                                             Assistant United States Attorney
11

12
      Dated: May 31, 2024                                    /s/ RICHARD A. BESHWATE
13                                                           RICHARD A. BESHWATE
14                                                           BUSTAMANTE
                                                             Counsel for Defendant
15                                                           SAUL RAMIREZ

16
                                                     ORDER
17
            To assess the availability of Judge Breyer to hear the sentencing in this matter, IT IS ORDERED
18
     that a Status Conference re Sentencing is set for July 10, 2024, at 1:00 p.m. in Courtroom 8 before
19
     Magistrate Judge Barbara A. McAuliffe. The June 5, 2024 sentencing hearing is VACATED. Should
20
     the parties be informed that Judge Breyer will hear the sentencing on July 26, 2024, they may file a
21
     stipulation to set the sentencing date and vacate the Status Conference.
22

23
     IT IS SO ORDERED.
24
        Dated:     May 31, 2024                               /s/ Barbara A. McAuliffe          _
25
                                                       UNITED STATES MAGISTRATE JUDGE
26
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